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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 JACOB FAY LUKE, SR.                                                          CIVIL ACTION

 VERSUS                                                                           NO. 20-1617

 SHERIFF JERRY LARPENTER, ET AL.                                            SECTION: “I”(1)



                                           ORDER

       The Court, having considered the complaint, the record, the applicable law, the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to file an

objection to the Magistrate Judge’s Report and Recommendation, hereby approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its opinion in this matter.

Therefore,

           IT IS ORDERED that plaintiff’s claim against Judge David Arceneaux is DISMISSED

WITH PREJUDICE as frivolous and/or for failing to state a claim upon which relief may be

granted.

       IT IS FURTHER ORDERED that plaintiff’s failure-to-protect claims against Sheriff

Jerry Larpenter and Major Stephen Bergeron are DISMISSED WITHOUT PREJUDICE for

failing to state a claim upon which relief may be granted.

       IT IS FURTHER ORDERED that plaintiff’s failure-to-protect claims against Dr. Richard

Haydel and Richard Neal are DISMISSED WITHOUT PREJUDICE for failing to state a claim

upon which relief may be granted.
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      IT IS FURTHER ORDERED that plaintiff’s medical claims against Dr. Richard Haydel

and Richard Neal are DISMISSED WITH PREJUDICE as frivolous.

      IT IS FURTHER ORDERED that plaintiff’s motion for release, Rec. Doc. 5, is denied.

      New Orleans, Louisiana, this 11th day of January, 2021.




                                          __________________________________________
                                                LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE




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